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Case 2:99-CV-03061-BBD-STA Document 216 Filed 07/29/05 Page 1 of 4 Page|D 268

UNITED STATES I)ISTRICT COURT
FOR THE WESTERN DIS’I`RICT OF TENNESSEE

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AMERICAN NATIONAL ) “J ‘f,-;_._§ §§@ELTIPHCOURT
MoRTGAGE, INC. ) f ran 18
)
Plaintiff, )
)
v. ) No. 2:99cv306l-D
) JURY DEMAND
WILLIAM N. GRIFFIN, et al. )
)
Defendants. )

 

MOTION TO AMEND SCHEDULING ORDER TO ENLARGE 'I`IME FOR
PLAIN'I`IFF TO IDENTIFY EXPERT WITNESSES

 

COMES NOW the Plaintiff, American National Mortgage, Inc., by and through

its counsel, and respectfully moves the Court to amend the scheduling order entered in

this cause to enlarge the time for Plaintiff to identify expert witnesses by thirty (30) days,

from July 29, 2005, to August 29, 2005, for reasons more fully set forth in the

accompanying memorandum.

       
 
   

MOTION GRANTED
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B RNICE BDU|E DONALD
U.S. DlSTRICT JUDGE

Th|s document entered on the docket sh c
with Rule 58 andfor 79(a) FRCP on

{L:\WDOX\BKClient\10246\OO l \pld\00004883 .BKC}

Respectfully submitted,

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(901'_ 524~0200

 

` lason G: Wolfkill

Attomeys for Amerfcan National
Mortgage, Inc.

/W@

Case 2:99-CV-03061-BBD-STA Document 216 Filed 07/29/05 Page 2 of 4 Page|D 269

CERTIFICATE OF CONSULTATION
I hereby certify that I have consulted with Dale H. Tuttle, Esq., counsel for
Defendants, William N. Griffin and Griffin, Clift, Everton & 'I`hornton. Mr. Tuttle
expressed that his clients took no position relative to Plaintift`s motion to amend, neither
supporting nor opposing it. I hereby certify that l have consulted with Richard M. Carter,
Esq., counsel for Det`endant, Security Title Company, Inc. Mr. Carter expressed that his
clients took no position relative to Plaintift’s motion to amend, neither supporting nor

opposing it.

(€>\Aj /\/

Quitman R Ledyard

CERTIFICATE OF SERVICE
I hereby certify a copy of the foregoing has been served via U.S. Mail, postage
pre-paid, upon W. Ernmett Marston, Esq., Richard M. Carter, Esq. and Shea S. Wellford,
Esq., Martin, Tate, Morrow & Marston, 6410 Poplar Avenue, Suite 1000, Memphis, TN
38103, and upon Dale H. Tuttle, Esq. and Tim Edwards, Esq., Glassman, Edwards, Wade

& Wyatt, P.C., 26 North Second St., Memphis, TN 38103, on this the aff day of July,

cei/lb

Quitman'R. Ledyard

2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 216 in
case 2:99-CV-03061 was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed

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Honorable Bernice Donald
US DISTRICT COURT

